     Case 2:09-cr-00384-HDM-LRL           Document 120        Filed 09/24/10      Page 1 of 1




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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                         )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10            v.                                        )          2:09-CR-384-HDM (LRL)
                                                        )
11    BILL ROSS,                                        )
                                                        )
12                          Defendant.                  )

13                                AMENDED ORDER OF FORFEITURE

14            This Court found on March 24, 2010, that BILL ROSS shall pay a criminal forfeiture money

15    judgment of $11,486.00 in United States Currency, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2),

16    Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c);

17    and Title 28, United States Code, Section 853.

18            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

19    States recover from BILL ROSS a criminal forfeiture money judgment in the amount of $11,486.00

20    in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18, United States

21    Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); and Title 28, United

22    States Code, Section 853.

23            DATED this ______          September
                          24th day of __________________, 2010.

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                                                   UNITED STATES DISTRICT JUDGE
